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ATTORNEY FOR PLAINTIFF
UNITED STATES OF AMERICA

              IN THE UNITED STATES DISTRICT COURT
                  FOR THE DISTRICT OF MONTANA
                        BILLINGS DIVISION

 UNITED STATES OF AMERICA,              CR 18- /I   I -BLG-6PW
             Plaintiff,                 INDICTMENT

       vs.                              ROBBERY AFFECTING COMMERCE
                                        (Count I)
                                        Title 18 U.S.C. §§ 1951(a) and 2
 JOSHUA STANLEY ROBERTS,                (Penalty: 20 years imprisonment, $250,000
 and DANIEL THOMAS HIDALGO,             fine, and three years supervised release)

             Defendants.                POSSESSION OF A FIREARM IN
                                        FURTHERANCE OF A CRIME OF
                                        VIOLENCE
                                        (Count In
                                        Title 18 U.S.C. § 924(c)(l)(A)
                                        (Penalty for possession: Mandatory
                                        minimum five years to life imprisonment,
                                        consecutive to any other sentence, $250,000
                                        fine, and five years supervised release)

                                        (Penalty for brandishing: Mandatory
                                        minimum seven years to life imprisonment,
                                        consecutive to any other sentence, $250,000
                                        fine, and five years supervised release)



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                                            PROHIBITED PERSON IN POSSESSION
                                            OF A FIREARM
                                            (Counts III, IV)
                                            Title 18 U.S.C. §§ 922(g)(l), (g)(9)
                                            (Penalty: Ten years imprisonment,
                                            $250,000 fine, and three years supervised
                                            release)

                                            CRIMINAL FORFEITURE
                                            Title 18 U.S.C. 924 d

      THE GRAND JURY CHARGES:

                                    COUNT I

      On or about July 27, 2018, at Billings and within Yellowstone County, in the

State and District of Montana, the defendant, JOSHUA STANLEY ROBERTS,

knowingly used actual and threatened force to unlawfully take money from the

person and presence of an employee then working at Dotty's Casino, a business

engaged in interstate commerce, thereby obstructing, delaying, and otherwise

affecting commerce, and aided and abetted the same, in violation of

18 U.S.C. §§ 195l(a) and 2.

                                    COUNT II

      On or about July 27, 2018, at Billings and within Yellowstone County, in the

State and District of Montana, the defendant, JOSHUA STANLEY ROBERTS,

knowingly possessed a firearm in furtherance of a crime of violence that may be

prosecuted in a court of the United States, namely robbery affecting commerce as


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charged in count I of this indictment, in violation of 18 U.S.C. § 924( c)(1 )(A).

      The Grand Jury finds the firearm was brandished.

                                      COUNT III

      On or about July 27, 2018, at Billings and within Yellowstone County, in the

State and District of Montana, the defendant, JOSHUA STANLEY ROBERTS,

having been convicted on or about October 31, 2008, of a crime punishable by

imprisonment for a term exceeding one year under the laws of the United States of

America, knowingly possessed, in and affecting interstate commerce, a firearm, that

is a Taurus, model PT92AFS, 9mm caliber semi-automatic pistol (SIN TF0573 l l ),

in violation of 18 U.S.C. § 922(g)(l).

                                     COUNT IV

      On or about July 27, 2018, at Billings and within Yellowstone County, in the

State and District of Montana, the defendant, DANIEL THOMAS HIDALGO,

having been convicted on or about October 31, 2008, of a misdemeanor crime of

domestic violence in the city of Billings, Montana, knowingly possessed, in and

affecting interstate commerce, firearms, namely a Cobra, model CB380, .380

caliber derringer pistol (SIN TF573 l l) and a Smith & Wesson, model 38, .38

Special revolver (SIN 447620), in violation of 18 U.S.C. § 922(g)(9).




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                             FORFEITURE ALLEGATION

      Upon conviction of any of the offense listed in counts I through III of this

indictment, the defendant, JOSHUA STANLEY ROBERTS, shall forfeit, pursuant

to 18 U.S. C. § 924(d), any firearms and ammunition involved in any knowingly

violation of said offense.

      Upon conviction of the offense listed in count IV of this indictment, the

defendant, DANIEL THOMAS HIDALGO, shall forfeit, pursuant to 18 U.S.C.

§ 924(d), any firearms and ammunition involved in any knowing violation of said

offense.

      A TRUE BILL.
                                        Foreperson signature redacted. Original document filed under seal.




Crimina Chief Assistant U.S. Attorney




                                                                                     Crim. Summons~
                                           4                                         Warrant.        Vv
                                                                                                   ·---::---
                                                                                    Bail;
                                                                                           ·----
